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     8                     UNITED STATES DISTRICT COURT
     9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
    10
     11   ELI REALTY INVESTMENTS, LLC,          Case No. SACV 22-01195-JWH(ADSx)
            et al.,
     12                                         CIVIL TRIAL SCHEDULING
                     Plaintiffs),               ORDER
     13        v.
                                                Last Day to Move to Amend Pleadings
    14    CORCORAN GROUP, INC., et al.,         or to Add New Parties: in accordance
                                                with Fed. R. Civ. P. 15(a) &
     15              Defendants.                Fed. R. Civ. P. 16(b)(4)
     16                                         Deadline for Initial Designation of
                                                Expert Witnesses: 12/29/23
     17
                                                Fact Discovery Cut-Off: (including
     18                                        hearing of discovery motions): 12/29/23
     19                                         Deadline for Designation of Rebuttal
                                                Expert Witnesses: 02/02/24
    20
                                                Expert Discovery Cut-Off: 03/01/24
     21
                                                Last day to Conduct Settlement
    22                                          Conference: 03/01/24
    23                                          Dispositive Motion Hearing Cut-Off:
                                                04/26/24
    24
                                                Deadline for Hearing on Motions in
    25                                          Limine: 06/07/24 at 9:00 a.m.
    26                                          Final Pretrial Conference: 06/14/24 at
                                                1:00 p.m.
    27
                                                Jury Trial: 07/01/24 at 9:00 a.m.
    28
                                                Trial Estimate: 8 days
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      1          This case is set for trial before the Honorable John W. Holcomb in
     2    Courtroom 9D, Ronald Reagan Federal Building and U.S. Courthouse,
     3    411 W. 4th Street, Santa Ana, California.
     4              I. AMENDING PLEADINGS AND ADDING PARTIES
     5           There is no separate deadline for the parties to amend their pleadings or
     6    to add parties. Parties who wish to amend pleadings or to add parties shall
     7    comply with Rule 15(a) and, if applicable, Rule 16(b)(4) of the Federal Rules of
     8    Civil Procedure, as well as L.R. 15-1 through L.R. 15-3 and L.R. 16-14.
     9                                      II. MOTIONS
    10    A.     Schedule and Procedures
     11          Judge Holcomb hears motions in civil cases, through in-person
    12    appearances, on Fridays at 9:00 a.m. The cut-off date for hearing motions is the
     13   last day on which motions will be heard; i.e., the motion must be filed at least 28
    14    days before the deadline in accordance with the requirements of L.R. 6-1. A
     15   copy of every motion-related document filed (including documents pertaining to
    16    claim construction hearings in patent cases) must be delivered to the chambers
     17   drop box outside Courtroom 9D or transmitted to chambers via FedEx, UPS, or
    18    other overnight delivery service (the “Mandatory Chambers Copy”). The
    19    cut-off date applies to all non-discovery motions except motions directly related
    20    to the conduct of trial (e.g., motions in limine and motions to sever parties or to
    21    bifurcate issues for trial).
    22           The parties are also reminded about their obligation to comply with
    23    L.R. 7-3, which requires a Conference of Counsel at least seven days before a
    24    party files most types of motions. The Court may deny a motion sua sponte if the
    25    moving party fails to comply strictly with L.R. 7-3.
    26    B.     Motions for Summary Judgment
    27           The Court employs special procedures for summary judgment motions,
    28    including the parties’ preparation of a mandatory Joint Exhibit and Joint

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      1   Statement of Undisputed Facts and Genuine Disputes. The parties and their
     2    counsel are directed to the Standing Order for a full explanation.
     3          The Court reminds the parties that the cut-off date for hearing dispositive
     4    motions (i.e., summary judgment motions) is the last day on which motions will
     5    be heard, not filed. The Court encourages parties to confer early and often
     6    regarding anticipated summary judgment motions and, when appropriate, to file
     7    a stipulation and proposed order to set a briefing schedule that provides the
     8    parties with more time between filing and opposition, and between opposition
     9    and reply, than the one week that is provided under L.R. 6-1, 7-9, and 7-10.
    10    C.    Motions in Limine
     11         All motions in limine (including Daubert motions) and other trial-related
    12    motions must be filed at least 28 days before the Final Pretrial Conference and
     13   properly noticed for hearing one week before the date of the Final Pretrial
    14    Conference. Oppositions to motions in limine are due 21 days before the Final
     15   Pretrial Conference (i.e., 14 days before the hearing on motions in limine).
    16    Replies will not be accepted.
     17         Counsel shall meet and confer thoroughly, in accordance with L.R. 7-3, in
    18    an effort to limit or eliminate the need for such trial-related motions.
    19    Memoranda of Points and Authorities in support of or in opposition to motions
    20    in limine shall not exceed 10 pages. Motions shall not be compound; i.e., each
    21    motion shall address only one item of evidence or witness. If common grounds
    22    for exclusion or admission apply to multiple items of evidence or witnesses, each
    23    motion shall address only one category of evidence or witnesses. Motions in
    24    limine should not be disguised motions for summary judgment or summary
    25    adjudication.
    26    D.    Withdrawal and Non-Opposition of Motions
    27          All parties and counsel must comply with L.R. 7-16, which provides as
    28    follows:

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      1         Any moving party who intends to withdraw the motion before the
     2          hearing date shall file and serve a withdrawal of the motion, not later
     3          than seven (7) days preceding the hearing. Any opposing party who
     4          no longer intends to oppose the motion, shall file and serve a
     5          withdrawal of the opposition, not later than seven (7) days preceding
     6          the hearing.
     7    Failure to comply with this notification requirement may result in the imposition
     8    of sanctions on the offending counsel or party.
     9          If a defendant files a motion to dismiss a complaint and the plaintiff
    10    subsequently amends that complaint, then the defendant shall file a Notice of
     11   Withdrawal of its motion to dismiss in accordance with L.R. 7-16, without
    12    waiting for the plaintiff or the Court to take action on the motion.
     13                                   III. DISCOVERY
    14          Counsel shall initiate all discovery other than depositions at least 45 days
     15   before the cut-off date. The Court will not approve stipulations between
    16    counsel that permit responses to be served after the cut-off date except in
     17   unusual circumstances and for good cause shown.
    18          All depositions must be completed by the discovery cut-off deadline.
    19    Counsel shall lodge all original depositions that will be used in trial with the
    20    Courtroom Deputy Clerk on the first day of trial.
    21          Counsel are expected to resolve discovery problems without the
    22    assistance of the Court. Discovery disputes have been referred to the Magistrate
    23    Judge assigned to this case. The discovery cut-off is the last date to complete
    24    discovery, including expert discovery. It is also the last day for hearing any
    25    discovery motion.
    26          If not separately set forth above, the required expert disclosures shall be
    27    made 70 days before the discovery cut-off date.
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      1                         IV. SETTLEMENT PROCEDURES
     2            Counsel must complete a settlement conference under the Court-
     3    Directed ADR Program (L.R. 16-15.4) no later than the date set by the Court
     4    above. If the parties desire to participate in an ADR procedure other than that
     5    elected in the Rule 26(f) Scheduling Report and Order, they shall file a
     6    stipulation with the Court. This request will not necessarily be granted.
     7            Counsel shall include in the proposed Pretrial Conference Order a status
     8    report detailing what procedure has been followed and the status of settlement
     9    efforts. The case may not proceed to trial unless all parties, including the
    10    principals of all corporate parties, have appeared personally at a settlement
     11   conference and have complied with L.R. 16-15.5.
    12            If a settlement is reached, it shall be reported immediately to this Court as
     13   required by L.R. 16-15.7. In all cases set for jury trial, the parties must notify
    14    the Court, no later than the Wednesday preceding the Monday trial date, of any
     15   settlement, so that the necessary arrangements can be made to bring in a
    16    different case for trial or to notify the members of the public who would
     17   otherwise be reporting for jury duty that their services are not needed that date.
    18    Failure to comply with this notification requirement may result in the
    19    imposition of sanctions on counsel for one or more parties, or their clients, or
    20    both.
    21                        V. FINAL PRETRIAL CONFERENCE
    22            The Court will conduct a Final Pretrial Conference pursuant to Rule 16 of
    23    the Federal Rules of Civil Procedure and L.R. 16-1 on the date and time listed
    24    above. Each party appearing in this action shall be represented at the Final
    25    Pretrial Conference and at all pretrial meetings by its lead trial counsel. Counsel
    26    should be prepared to discuss streamlining the trial, including the presentation
    27    of testimony by deposition excerpts, time limits, stipulations regarding
    28    undisputed facts, and the qualification of experts by admitted resumes. In rare

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      1   cases where the Pretrial Conference is waived by the Court, counsel must follow
     2    L.R. 16-11. This Court does not exempt pro per parties from the requirements of
     3    L.R. 16.
     4        VI. MATTERS TO BE DISCUSSED AT THE FINAL PRETRIAL
     5                                    CONFERENCE
     6          Counsel shall be prepared to discuss the following matters with the Court
     7    at the Pretrial Conference:
     8       • the witnesses all parties intend to call during their respective cases, and
     9          the amount of time necessary for direct and cross examination of each
    10          witness;
     11      • any anticipated problems in scheduling witnesses;
    12       • any evidentiary issues, including anticipated objections under Rule 403 of
     13         the Federal Rules of Evidence, and objections to exhibits;
    14       • jury selection procedures;
     15      • all pretrial motions, including motions in limine and motions to bifurcate
    16          and to sever (which, as noted above, must be set for hearing at least one
     17         week before the Pretrial Conference);
    18       • any disputed jury instructions, and the form of the instructions that will be
    19          given to the jury at the outset of the case, i.e., before opening statements
    20          and presentation of evidence;
    21       • whether any counsel intends to use any evidence or demonstrative aid in
    22          opening statement; and
    23       • motions to exclude witnesses from the courtroom during trial testimony.
    24          If counsel for any party needs to arrange for the installation of their own
    25    equipment, such as video monitors, notebooks, or projection equipment, counsel
    26    shall notify the Courtroom Deputy Clerk no later than 4:00 p.m. on the
    27    Wednesday before trial so that the necessary arrangements can be made.
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      1                               VII. PRETRIAL FILINGS
     2            Counsel shall submit carefully prepared Memoranda of Contentions of
     3    Fact and Law (which may also serve as the trial briefs) and proposed Pretrial
     4    Conference Orders in accordance with the provisions of L.R. 16-4 through 16-7.
     5    The form of the proposed Pretrial Conference Order shall be in conformity with
     6    the form set forth in Appendix A to the Local Rules.
     7            The filing schedule for pretrial documents is as follows:
     8    A.      At Least 28 Days before Final Pretrial Conference
     9         • Motions in limine (which, as noted above, must be set for hearing at least
    10            one week before the Pretrial Conference) 1
     11   B.      At Least 21 Days before Final Pretrial Conference
    12         • Memorandum of contentions of fact and law
     13        • Witness lists
    14         • Joint exhibit list
     15        • Oppositions to motions in limine (which, as noted above, must be set for
    16            hearing at least one week before the Pretrial Conference)
     17   C.      At Least 14 Days before Final Pretrial Conference
    18         • Proposed Final Pretrial Conference Order
    19         • Proposed jury instructions and any objections thereto
    20         • Proposed verdict forms
    21         • Statement of the case
    22         • Proposed voir dire questions, if desired
    23    D.      At Least 7 Days before Trial:
    24         • Trial briefs, if desired.
    25
    26
          1
                 In rare instances, the Court will set the deadline for hearing motions in
    27    limine for a date other than one week before the Final Pretrial Conference. In
          those instances, motions in limine are due no later than 21 days before the
    28    hearing, and oppositions are due no later than 14 days before the hearing.

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      1           In drafting the Proposed Final Pretrial Conference Order, counsel shall
     2    make a good faith effort to agree on, and to set forth, as many uncontested facts
     3    as possible. The Court may read the uncontested facts to the jury at the start of
     4    the trial.
     5            In drafting the factual issues in dispute for the Proposed Final Pretrial
     6    Conference Order, the issues of fact should track the elements of a claim or
     7    defense upon which the jury would be required to make findings. Counsel
     8    should attempt to state issues in ultimate fact form, not in the form of
     9    evidentiary fact issues (i.e., “was the defendant negligent?”; “was such
    10    negligence the proximate cause of injury to the plaintiff?”; “was the plaintiff
     11   negligent?”; not, “was the plaintiff standing on the corner of 5th Street and
    12    Spring Avenue at 10:00 a.m. on May 3?”). Counsel may list sub-issues under
     13   the headings of ultimate fact issues, but shall not use this as a device to list
    14    disputes over evidentiary matters.
     15           Issues of law should state legal issues upon which the Court will be
    16    required to rule after the Pretrial Conference, including during the trial, and
     17   should not list ultimate fact issues to be submitted to the trier of fact.
    18            Each party shall list and identify its respective expert witnesses, if any.
    19    Failure of a party to list and identify an expert witness in the Proposed Final
    20    Pretrial Conference Order shall preclude a party from calling that expert witness
    21    at trial.
    22    E.      Exhibit and Witness Lists
    23            Counsel are directed to prepare their exhibits by placing them in three-
    24    ring binders that are tabbed down the right side with exhibit numbers. The spine
    25    portion of the binder shall indicate the volume number and shall contain an
    26    index of each exhibit included in the volume. The binders are to be prepared
    27    with an original for the Courtroom Deputy Clerk, which shall be tagged with the
    28    appropriate exhibit tags in the upper right-hand corner of the first page of each

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      1   exhibit, and two copies for the Court (the “Judge’s binders”). Each binder shall
     2    contain an index of the included exhibits. The exhibits are to be numbered in
     3    accordance with L.R. 26-3.
     4           The Court requires the following to be submitted to the Courtroom
     5    Deputy Clerk on the first day of trial:
     6        • The original exhibits with the Court’s exhibit tags. The parties shall use
     7           yellow tags for Plaintiff and blue tags for Defendant, which shall be
     8           stapled to the front of the exhibit on the upper right corner with the case
     9           number, case name, and exhibit number placed on each tag. Counsel can
    10           obtain exhibit tags at the Clerk’s Office. Exhibit Tags (Plaintiff &
     11          Defendant, form G-014) are also available on the Court’s website, under
    12           “Court Procedures,” “Forms.”
     13       • Two Judge’s binders with a copy of each exhibit for use by the Court,
    14           tabbed with numbers as described above. (Court’s exhibit tags not
     15          necessary.)
    16        • Four copies of the exhibit index.
     17          The exhibit index shall be in the following form:
    18    Case No.                    Case Name:
    19    Exhibit No.       Description                    Date Identified    Date Admitted
    20    3                 1/30/2005 Letter from Doe
    21                      to Roe

    22        • Four copies of witness lists in the order in which the witnesses may be
    23           called to testify.
    24           The witness lists shall be in the following form:
    25
    26
    27
    28

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   1   Case No.                    Case Name:
   2   Witness Name                                   Date Called to Testify
   3   1. John Doe
   4   2. Jane Roe
   5
   6         All counsel shall meet no later than 10 calendar days before trial and shall
   7   stipulate to the extent possible regarding foundation, waiver of the best evidence
   8   rule, and admission into evidence of exhibits at the start of trial. The exhibits to
   9   be received will be noted on the extra copies of the exhibit lists.
  10                             VIII. COURT REPORTER
  11         At least seven days before the commencement of trial, counsel for the
  12   parties shall provide the court reporter with a list of unusual words, phrases, and
  13   spellings that may come up during trial. This information should be emailed to
  14   Court Reporter Services at ReportersCACD@cacd.uscourts.gov.
  15                             IX. JURY INSTRUCTIONS
  16         Fourteen calendar days prior to the L.R. 16-2 Meeting of Counsel,
  17   counsel shall exchange proposed jury instructions and special verdict forms (if
  18   applicable). Seven calendar days prior to the L.R. 16-2 meeting, counsel shall
  19   exchange any objections to the instructions and special verdict forms. Prior to or
  20   at the time of the L.R. 16-2 meeting, counsel shall meet and confer with the goal
  21   of reaching agreement regarding one set of joint, undisputed jury instructions
  22   and one special verdict form.
  23         The parties shall file proposed jury instructions fourteen calendar days
  24   before the Final Pretrial Conference. As always, the parties must submit
  25   Mandatory Chambers Copies to the Court. In addition, the parties must submit
  26   electronic versions (in Word format) to the Court at the following e-mail
  27   address: JWH_Chambers@cacd.uscourts.gov.
  28

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   1          As noted above, the parties must act jointly to submit proposed jury
   2   instructions. The parties must submit one set of agreed upon jury instructions.
   3   At the same time, the parties must submit another set of jury instructions
   4   containing the instructions upon which the parties disagree and the objections to
   5   those instructions. Where the parties disagree on an instruction, the party
   6   opposing the instruction must attach a short (i.e., one to two paragraphs)
   7   statement supporting the objection and the party submitting the instruction
   8   must attach a short statement supporting the instruction. Each statement
   9   should be on a separate page and should follow directly after the disputed
  10   instruction.
  11          Accordingly, the parties ultimately will submit one document or, if the
  12   parties disagree over any proposed jury instructions, two documents. If the
  13   parties submit two documents, those documents should consist of: (1) a set of
  14   agreed upon jury instructions; and (2) a set of disputed jury instructions along
  15   with reasons supporting and opposing each disputed instruction.
  16          Where the Manual of Model Civil Jury Instructions for the Ninth
  17   Circuit provides a version of a requested instruction, the parties should submit
  18   the Model instruction. Where California law applies, the Court prefers counsel
  19   to use JUDICIAL COUNCIL OF CALIFORNIA, CIVIL INSTRUCTIONS—(“CACI”). If
  20   neither of the above sources has an instruction on the subject, counsel are
  21   directed to consult the current edition of O’Malley, et al., FEDERAL JURY
  22   PRACTICE AND INSTRUCTIONS. Each requested instruction (a) shall cite the
  23   authority or source of the instruction; (b) shall be set forth in full; (c) shall be on
  24   a separate page; (d) shall be numbered; (e) shall cover only one subject or
  25   principle of law; and (f) shall not repeat principles of law contained in any other
  26   requested instruction.
  27          The Court will send a copy of the jury instructions into the jury room for
  28   use by the jury during deliberations. Accordingly, in addition to the file copies

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   1   described above, the parties shall file with the Courtroom Deputy Clerk and
   2   shall email to chambers on the first day of the trial a “clean set” of joint and/or
   3   proposed jury instructions that contain only the text of each instruction set forth
   4   in full on each page, with the caption “Court’s Instruction Number         ”
   5   (eliminating titles, supporting authority, indication of party proposing, etc.).
   6   This version will be referred to as the “Jury Copy” of the jury instructions.
   7         An index page shall accompany all jury instructions submitted. The index
   8   page shall indicate the following:
   9      • The number of the instruction;
  10      • A brief title of the instruction;
  11      • The source of the instruction and any relevant case citations; and
  12      • The page number of the instruction.
  13         EXAMPLE:
  14                     Number Title                    Source               Page
  15                     1          Burden of Proof      9th Cir. 12.02       7
  16
  17                     X. JOINT STATEMENT OF THE CASE
  18         Counsel shall prepare a joint statement of the case which will be read by
  19   the Court to the prospective panel of jurors prior to the commencement of voir
  20   dire. The statement should not be longer than three paragraphs. The statement
  21   shall be filed with the Court fourteen calendar days before the Final Pretrial
  22   Conference.
  23                                        XI. TRIAL
  24         The Court sets firm trial dates. Counsel shall arrive at the Courtroom not
  25   later than 8:30 a.m. each day of trial. The Court reserves the time from 8:30 to
  26   9:00 a.m. to handle legal and administrative matters outside the presence of the
  27   jury. The trial will commence promptly at 9:00 a.m. Counsel shall anticipate
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   1   matters that may need discussion or hearing outside the presence of the jury and
   2   to raise them during this period.
   3         The Court is in session with the jury on Mondays through Thursdays,
   4   9:00 a.m. to 5:00 p.m., with a morning and an afternoon break and a lunch
   5   recess from approximately 12:00 noon to 1:00 p.m. In most instances, jury
   6   selection is completed on the first morning of trial, and counsel should be
   7   prepared to give opening statements and to begin their presentation of evidence
   8   immediately thereafter.
   9         All counsel shall observe the following practices during trial:
  10      • All counsel and parties shall rise when the jury enters and leaves the
  11         courtroom.
  12      • Counsel shall stand when addressing the Court, including when objecting
  13         to opposing counsel’s questions.
  14      • When objecting, counsel shall state only “objection” and the legal ground
  15         for the objection (e.g., hearsay, irrelevant, etc.). Counsel shall refrain
  16         from arguing the legal basis for the objection unless and until permission
  17         is granted to do so. Counsel shall instruct their witnesses to refrain from
  18         answering a question while an objection is pending.
  19      • Counsel must seek leave to approach the Courtroom Deputy Clerk or the
  20         witness and shall question witnesses while standing at the lectern.
  21      • Counsel shall not address or refer to witnesses or parties by first names
  22         alone, with the exception of witnesses under 14 years old.
  23      • Counsel shall not discuss the law or argue the case in opening statements.
  24      • Counsel shall address all remarks to the Court and shall not directly
  25         address the Courtroom Deputy Clerk, the Court Reporter, opposing
  26         counsel, or the jury (except in opening statement and closing argument).
  27         Counsel must ask the Court for permission to talk off the record in order
  28         to speak with opposing counsel.

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   1      • Counsel shall not make an offer of stipulation unless he or she has
   2         conferred with opposing counsel and believes that the stipulation will be
   3         accepted.
   4      • While Court is in session, counsel may not leave the counsel table to
   5         confer with witnesses, colleagues, or assistants elsewhere in the
   6         courtroom unless the Court grants permission to do so in advance.
   7      • Where a party has more than one lawyer, only one may conduct the direct
   8         or cross-examination of a particular witness or make objections with
   9         respect to that witness.
  10      • If a witness was on the stand before a recess or adjournment, counsel shall
  11         have the witness back on the stand and ready to proceed when Court
  12         resumes.
  13      • If there is more than a brief delay between witnesses, the Court may deem
  14         that the party has rested.
  15      • The Court attempts to cooperate with witnesses and will, except in
  16         extraordinary circumstances, accommodate them by permitting them to
  17         be examined out of sequence. Counsel should discuss any scheduling
  18         issues with opposing counsel. If there is an objection, counsel shall confer
  19         with the Court in advance.
  20                                XII. BENCH TRIALS
  21         Twenty-one calendar days before the trial date, each party shall prepare
  22   and serve on opposing counsel copies of the proposed Findings of Fact and
  23   Conclusions of Law. Each party shall review the other party’s proposed
  24   Findings and Conclusions and make such changes in the party’s own proposed
  25   Findings and Conclusions as necessary following such review. Fourteen
  26   calendar days before the trial date, each party shall lodge two copies of its
  27   proposed Findings of Fact and Conclusions of Law with the Court, also serving
  28   other parties if changes have been made. The parties shall be prepared to submit

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   1   to the Court, and to exchange among themselves, supplemental Findings of Fact
   2   and Conclusions of Law during the course of the trial.
   3                                    XIII. WEBSITE
   4         Counsel are encouraged to review the Central District’s website for
   5   additional information: www.cacd.uscourts.gov.
   6         The Courtroom Deputy Clerk is ordered to serve a copy of this Order
   7   personally, electronically, or by mail on counsel for all parties to this action.
   8         IT IS SO ORDERED.
   9
  10   Dated: January 23, 2023
                                                John W. Holcomb
  11                                            UNITED STATES DISTRICT JUDGE
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